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. SALINE COUNTY DETENTION FACILITY

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08/15/08 18:20
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ID #: 2008080176 Name: WATSON, RODNEY LEWIS
Address: 218 WEST 22ND
LITTLE ROCK, AR 722040000
DOB: 8/30/1966 Race: B Height: 0-0 Eyes:BROWN ‘Home Phone
Age: 41 YRS Sex: M Weight:000 Hair: BLACK (501)296-9900

Soc. Sec. No.: XXX-XX-XXXX

Yes/No VISUAL ASSESSMENT
N 1. Is inmate unconscious?
N 2. Does inmate have any visible signs of trauma, illness, obvious pain or bleeding,

requiring immediate medical attention?

Is there obvious fever, swollen lymph nodes, jaundice or other evidence of infection
that may be contagious?

4. Any signs of poor skin condition, vermin, rashes or needle marks?

5. Does inmate appear to be under the influence of drugs or alcohol?

6. Any visible signs of alcohol or drug withdrawal?
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. Does inmate's behavior suggest the risk of suicide or assault?
. Is inmate carrying medication?
. Does the inmate have any physical deformities?

Does inmate appear to have psychiatric problems?

Yes/No MEDICAL QUESTION
11. Do you have or have you ever had any of the following:

a) allergies Ne) epilepsy N_ i)highbleod pressure WN  m) ulcers
b) arthritis Nf) fainting spells Nj) psychiatric disorder Nn) venerial disease
c) asthma N = g) heart condition Nk) seizures Yo) other(specify)
d) diabetes Nh) hepatitis N= |) tuberculosis

12. Females only:
a) Are you pregnant? Wb) Do you take birth contro! pills? Nc) Have you recently delivered?

13. Have you recently been hospitalized or treated by adoctor? = 27 ENEE

14. Do you currently take any medication prescribed by adoctor? OX idarTent

15. Are you allergic to any medication?

16. Do you have any handicaps or conditions that limit activity?

17. Have you ever attempted suicide or are you thinking about it now?

18. Do you regularly use alcohol or street drugs? AlcoHoL

19. Do you have any problems when you stop drinking or using drugs?

20. Do you have a special diet prescribed by a doctor?

21. Do you have any problems or pain with your teeth?

22. Do you have any other medical problems we should know about?

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Medical Insurance: NONE Doctor: DR NEELY

Emergency Contact: PRICILLA WATSON Relationship: MOTHER
Address: 218 W 22ND
City: LITTLE ROCK State: AR Zip: 72204 Phone:

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‘JAIL DETAINEE GRIEVANCE FORM

—~ ° SALINE COUNEY DETENTION FACILITE .

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2 INSTRUCTIONS: Fill in the blanks and i clearly describe your problem tn the space
% 3 : below. If you need more space, use the back. Fold the completed form, write

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